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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

TIMOTHY SHANNON                                                     CIVIL ACTION

VERSUS                                                              NO. 22-1222

RODI MARINE, LLC, ET AL.                                            SECTION: D (5)

                                  ORDER AND REASONS
        Before the Court is Plaintiff’s Motion in Limine to Exclude Dr. Brandon

Taravella’s Opinions on Accelerations.1 Plaintiff seeks to exclude Dr. Taravella from

testifying at trial pursuant to Fed. R. Evid. 702 and the Supreme Court’s decision in

Daubert v. Merrell Dow Pharmaceuticals, Inc.2 on the basis that he is not qualified to

offer expert opinions on the acceleration, or gravitational forces (“g-forces”), that

Plaintiff experienced during his voyage aboard the M/V MR LLOYD on May 5, 2021,

that his methodology and opinions are unreliable, and that his opinions using the

root mean square, or average, of those forces are irrelevant and unhelpful to the fact

finder.3 Rodi Marine, LLC (“Rodi Marine”) opposes the Motion,4 asserting that Dr.

Taravella has expertise in naval architecture and hydrodynamics and is qualified to

offer opinions as to hydrodynamics.5 Rodi contends that his testimony goes to the

issue of Rodi’s negligence and will be helpful to determine “whether Rodi traveled too




1 R. Doc. 94.
2 509 U.S. 579, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993).
3 R. Doc. 94-1.
4 The Court notes that both Rodi Marine and Talos Oil & Gas, LLC (“Talos”), listed Dr. Taravella on

their witness lists, with Talos noting that Dr. Taravella would provide “Expert testimony regarding
naval architecture and hydrodynamics.” R. Doc. 31 at p. 4. See, R. Doc. 34 (Rodi Marine listing Dr.
Taravella as “Expert Witness: naval architecture and hydrodynamics, Pelican Marine.”). Talos has
not filed an opposition to Plaintiff’s Motion or otherwise joined in the Motion.
5 R. Doc. 103 at pp. 1, 2, 4-6.
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quickly for the prevailing seas.” 6              Rodi further asserts that Dr. Taravella’s

methodology, whereby he used computer modeling to calculate the root mean squared

accelerations at the location where Plaintiff was sitting during the voyage, “is

typically used by naval architects to analyze seakeeping results.”7 Plaintiff filed a

Reply, maintaining his argument that Dr. Taravella’s opinions regarding acceleration

should be excluded as unreliable.8

        After careful consideration of the parties’ memoranda and the applicable law,

the Motion is DENIED.

I.      LAW AND ANALYSIS

        The purpose of Daubert is “to ensure that only reliable and relevant expert

testimony is presented to the jury.”9 As a result, “Most of the safeguards provided for

in Daubert are not as essential in a case . . . where a district judge sits as the trier of

fact in place of a jury.” 10 Further, “Daubert requires a binary choice – admit or

exclude – and a judge in a bench trial should have discretion to admit questionable

technical evidence, though of course he must not give it more weight than it

deserves.” 11 The Court recognizes that the rejection of expert testimony is the




6 Id. at pp. 1-6.
7 Id. at pp. 6-10 (quoting R. Doc. 94-5 at p. 5) (internal quotation marks omitted).
8 R. Doc. 113.
9 Rushing v. Kansas City Southern Ry. Co., 185 F.3d 496, 506 (5th Cir. 1999), superseded by statute

on other grounds as stated in Lester v. Wells Fargo Bank, N.A., 805 Fed.Appx. 288 (5th Cir. 2020)
(citing Daubert, 509 U.S. at 590-93, 113 S.Ct. 2786).
10 Gibbs v. Gibbs, 210 F.3d 491, 500 (5th Cir. 2000).
11 Taylor v. B&J Martin, Inc., 611 F. Supp. 3d 278, 283 (E.D. La. 2020) (quoting Thompson v. Rowan

Cos, Inc., Civ. A. No. 06-3218, 2007 WL 724646, at *1 (E.D. La. Mar. 6, 2007) (Barbier, J.)) (internal
quotation marks omitted).
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exception and not the rule.12 Nonetheless, “expert testimony should be excluded in a

bench trial if the Court finds that the proffered testimony deals only with common

sense issues with which the Court, in its role as trier of fact, needs no expert

assistance to resolve.”13

       The Court again begins with whether expert testimony is necessary in this

matter, or whether the proffered testimony deals only with common sense issues.

Neither party argues that the expert testimony is unnecessary and within the

common knowledge of the Court; the Court agrees. On the issue of Dr. Taravella’s

qualification to offer opinions regarding the acceleration that Plaintiff experienced

during the voyage at issue, the Court finds that Rodi Marine has established some

reasonable indication of Dr. Taravella’s qualifications based upon his education,

training, knowledge of, and experience in, naval architecture and hydrodynamics. 14

As such, any alleged flaws in Dr. Taravella’s qualifications will be issues for the

Court, as the trier of fact, to weigh during the trial on the merits.15 The Court also

finds that the strength of Dr. Taravella’s credentials “goes to the weight of his

testimony and not its admissibility.” 16 To the extent Plaintiff asserts that Dr.




12 Johnson v. Samsung Electronics America, Inc., 277 F.R.D. 161, 165 (E.D. La. 2011)     (quoting Fed.
R. Evid. 702 Advisory Committee Notes to 2000 Amendments) (internal quotation marks omitted).
13 Taylor v. B&J Martin, Inc., 611 F. Supp. 3d 278, 283 (E.D. La. 2020) (citing Thompson v. Rowan

Cos., Civ. A. No. 06-3218, 2007 WL 724646, at *1 (E.D. La. Mar. 6, 2007) (Barbier, J.)).
14 See, R. Doc. 94-6; R. Doc. 103 at pp. 9-11.
15 Dauterive v. Guilbeau Marine Logistics LLC, Civ. A. No. 15-2182, 2018 WL 3435422, at *5 (W.D. La.

July 13, 2018) (M.J. Hanna).
16 Rhodes v. Genesis Marine, LLC of Delaware, Civ. A. No. 18-746, 2019 WL 3282125, at *3 (E.D. La.

July 19, 2019) (Morgan, J.) (quoting Montgomery v. Parker Towing Co., Inc., Civ. A. No. 07-3218, 2008
WL 559569, at *2 (E.D. La. Feb. 26, 2008) (Africk, J.) (citing Curry v. ENSCO Offshore Co., 54
Fed.Appx. 407 (5th Cir. 2002); Williams v. Warren, 253 F.3d 700 (5th Cir. 2001)) (internal quotation
marks omitted).
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Taravella lacks the requisite experience using the software General HydroStatics

(GHS) SeaKeeping Module by Creative Systems, Inc. to calculate the acceleration

experienced by Plaintiff, 17 the Court finds that such objections go to the weight,

rather than the admissibility, of the testimony.18

        As to the reliability of Dr. Taravella’s opinions, and Dr. Taravella’s calculation

of the root mean squared acceleration that acted on Plaintiff at the time of his alleged

injury, rather than calculating the “forces from the injury-causing waves at the end

of the voyage,”19 this Court is capable of weighing Dr. Taravella’s opinions during

trial on the merits.20 Dr. Taravella’s decision to consider only the average forces that

acted upon Plaintiff, however flawed that may or may not prove to be, goes to the

weight, rather than the admissibility of his testimony.21

        The Court further finds that Dr. Taravella’s report and Rodi Marine’s

Opposition brief and, specifically, Dr. Taravella’s reliance upon a table purportedly

established by “U.S. Navy researchers” regarding “crew comfort and performance

transition zones,” raise questions about the methodology used by Dr. Taravella. 22

With that said, the Court finds it appropriate to allow Dr. Taravella to explain his

reliance on the table and the bases for his opinions, and to determine what weight, if

any, to give to those opinions. The Fifth Circuit has held that, “[a]s a general rule,



17 R. Doc. 94-1 at pp. 9-10.
18 Dauterive, Civ. A. No. 15-2182, 2018 WL 3435422 at *4.
19 R. Doc. 94-1 at p. 11.
20 See, Dauterive, Civ. A. No. 15-2182, 2018 WL 3435422 at *5 (citing United States v. 14.38 Acres of

Land, More or Less Situated in Leflore Cty., State of Miss., 80 F.3d 1074, 1077 (5th Cir. 1996)).
21 Dauterive, Civ. A. No. 15-2182, 2018 WL 3435422 at *5.
22 R. Doc. 94-5 at pp. 7-8; R. Doc. 103 at pp. 9-10. See, R. Doc. 94-1 at pp. 11-13; R. Doc. 113 at pp. 8-

9.
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questions relating to the bases and sources of an expert’s opinion affect the weight to

be assigned that opinion rather than its admissibility and should be left for the jury’s

consideration.”23 Further, the Supreme Court in Daubert made clear that, “Vigorous

cross-examination, presentation of contrary evidence, and careful instruction on the

burden of proof are the traditional and appropriate means of attacking shaky but

admissible evidence.” 24        The Court is confident that able counsel within our

adversarial system will highlight any weak evidence at trial. This Court is fully

capable of determining the weight, if any, to be given to an expert’s testimony. Given

that this case is set for a bench trial on June 18, 2024,25 and that the objectives of

Daubert, upon which the instant Motion in Limine is premised, are no longer

implicated, the Court finds that the Motion should be denied at this time.26 The Court

therefore rejects Plaintiff’s argument that Dr. Taravella’s expert opinions on

accelerations should be excluded.




23 Primrose Operating Co. v. National Amer. Ins. Co., 382 F.3d 546, 562 (5th Cir. 2004) (quoting 14.38

Acres of Land, More or Less Situated in Leflore Cty., State of Miss., 80 F.3d at) (internal quotation
marks omitted and emphasis added in Primrose).
24 Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 596, 113 S.Ct. 2786, 2798, 125 L.Ed.2d

469 (1993) (citing Rock v. Arkansas, 483 U.S. 44, 61, 107 S.Ct. 2704, 2714, 97 L.Ed.2d 37 (1987)). See,
Lewis v. Cain, 605 F. Supp. 3d 864, 869 (M.D. La. 2022) (same).
25 R. Docs. 130 & 131.
26 Deville v. Comar Marine Corp., Civ. A. No. 08-4104, 2009 WL 1870896, at *1 (E.D. La. June 25,

2009) (Barbier, J.).
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II.     CONCLUSION

        For the foregoing reasons, IT IS HEREBY ORDERED that Plaintiff’s Motion

in Limine to Exclude Dr. Brandon Taravella’s Opinions on Accelerations 27 is

DENIED.

        New Orleans, Louisiana, April 17, 2024.


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                                       WENDY B. VITTER
                                       United States District Judge




27 R. Doc. 94.
